Case 1:19-cv-24300-MGC Document 33-1 Entered on FLSD Docket 12/27/2019 Page 1 of 28



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                      Case No.: 1:19-cv-24300-MGC



     IBALDO ARENCIBIA,


                Plaintiff,

     vs.

     AGA SERVICE COMPANY d/b/a ALLIANZ
     GLOBAL ASSISTANCE, a Foreign For-Profit
     Corporation; AMERICAN AIRLINES, INC., a
     Foreign For-Profit Corporation; and
     JEFFERSON INSURANCE COMPANY, a
     Foreign For-Profit Corporation,

                Defendants.



                        DECLARATION OF MARIANA A. FONSECA MEDINA

           I, Mariana A. Fonseca Medina, declare as follows:

           1.        I am over eighteen years of age and I have personal knowledge of the information

   set forth in this declaration. I work at American Airlines and my title is Managing Director,

   Digital Customer Experience Digital Channels AA.com. In that capacity I am familiar with the

   AAdvantage program, American’s website, and how individuals join the AAdvantage program

   on American’s website.

           2.        AAdvantage is American’s loyalty program. AAdvantage is a loyalty program

   providing members with many benefits, including allowing them to accumulate miles to redeem

   for flights, upgrades, vacations, hotel and car rentals, and other retail products. AAdvantage



                                                     1
Case 1:19-cv-24300-MGC Document 33-1 Entered on FLSD Docket 12/27/2019 Page 2 of 28



   members earn “miles” through a variety of ways, including when flying with American or one of

   its codeshare partners, or through using one of the co-branded credit cards.

           3.     Mr. Ibaldo Arencibia became an AAdvantage member on August 13, 2019 by

   signing up for the AAdvantage program on American’s website, AA.com. A copy of the

   AAdvantage record specifying his AAdvantage number and date of enrollment is attached as

   Exhibit A.

           4.     In signing up for the AAdvantage loyalty program, Mr. Arencibia necessarily had

   to click a box stating, “I agree to the AAdvantage terms/conditions.” The AAdvantage

   registration page is attached as Exhibit B, and has not changed since August 13, 2019.

           5.     The words “terms/conditions” within the statement “I agree to the AAdvantage

   terms/conditions,” are a hyperlink, which opens up the AAdvantage terms and conditions. See

   Ex. B. The existence of the hyperlinked terms and conditions has not changed since August 13,

   2019.

           6.     The first paragraph under “General AAdvantage® program terms and conditions”

   provides that “You are responsible for reading the AAdvantage® Program Terms and

   Conditions, additional member information, AAdvantage® newsletters and account summaries

   online at aa.com in order to understand your rights, responsibilities, and status under the

   AAdvantage® program.” That also has not changed since August 13, 2019.

           7.     One provision within the terms and conditions specifies that: “By accessing your

   AAdvantage account on aa.com, you agree to the aa.com site usage policy.” A hyperlink

   directly below that provision, “Legal information,” allows the consumer to review the legal

   information portion of the site usage policy in a new window. The AAdvantage terms and




                                                    2
Case 1:19-cv-24300-MGC Document 33-1 Entered on FLSD Docket 12/27/2019 Page 3 of 28



  conditions are attached as Exhibit C, and the relevant section has not changed since August 13,

  2019.

          8.     The site usage policy is attached as Exhibit D and the paragraph containing the

  forum selection clause, entitled "Forum for actions, governing law, and procedural restrictions,"

  has not changed since August 13, 2019.

          9.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

  is true and correct to the best of my knowledge.

          Executed this 21.o day of December, 2019.




                                               By:~ ~ - -

                                                         Mariana A. Fonseca Medina




                                                     2
Case 1:19-cv-24300-MGC Document 33-1 Entered on FLSD Docket 12/27/2019 Page 4 of 28




                             EXHIBIT A

                          (Filed Under Seal)
Case 1:19-cv-24300-MGC Document 33-1 Entered on FLSD Docket 12/27/2019 Page 5 of 28




                                   EXHIBIT B
12/22/2019
      Case                            Your33-1
              1:19-cv-24300-MGC Document   information – Join AAdvantage
                                                   Entered      on FLSD  – American
                                                                            Docket  Airlines
                                                                                        12/27/2019 Page 6 of 28
                                           Home   Log in »    Hello                  English   Search aa.com              􎀹
                                                       Plan Travel       Travel Information AAdvantage

    Your information                       Your preferences             BeNotiﬁed                   Your account



Your information
You are just a few clicks away from joining our frequent flyer program. Please tell us a little about yourself. We need your
first, middle and last name exactly as they appear on the ID you use when you travel. We are also asking for your gender
and date of birth since those, too, are now required by the TSA Secure Flight .        􎀿
Read how we use and protect your personal information. American Airlines privacy policy         􎀿



Your name
( ● Required)

Your name should match the ID you show at the airport. Secure Flight Information

Title

  Select your title


First name ●                            Middle name                    Last name ●                  Suffix

                                                                                                     Select your suffix


Preferred first name                    Date of birth ●                Gender ●

                                          Mon       Day         Year    Select your gender




Address
   Home           Business


Country / region ●                      Address 1 ●                    Address 2

  Select your country / reg



https://www.aa.com/loyalty/enrollment/enroll                                                                                  1/3
12/22/2019
      Case                            Your33-1
              1:19-cv-24300-MGC Document   information – Join AAdvantage
                                                   Entered      on FLSD  – American
                                                                            Docket  Airlines
                                                                                        12/27/2019 Page 7 of 28
City ●                                  State ●                       Postal code ●

                                          Select a state




Email and phone
Primary email ●                         Confirm primary email ●




Primary phone type ●                    Primary phone ●

  Select a phone type                     Select      Number




Your account
Username                          􎀼     Password ●                􎀼   Confirm password ●




Security question 1 ●                                                 Answer 1 ●

  Select a question


Security question 2 ●                                                 Answer 2 ●

  Select a question


Security question 3 ●                                                 Answer 3 ●

  Select a question




Secure traveler
If you have a 'redress number' and/or 'known traveler number' enter your information and we'll pass it through when you
book.



https://www.aa.com/loyalty/enrollment/enroll                                                                          2/3
12/22/2019
      Case                            Your33-1
              1:19-cv-24300-MGC Document   information – Join AAdvantage
                                                   Entered      on FLSD  – American
                                                                            Docket  Airlines
                                                                                        12/27/2019 Page 8 of 28
Redress number                    􎀼     Known Traveler number         􎀼




                                                             I agree to the AAdvantage terms/conditions   􎀿.   􎁃


                                                                                                               Continue




Help                                    About American                    Extras

Contact American                        About us                          Business programs

Receipts and refunds                    Careers   􎀿                       Gift cards   􎀿
FAQs                                    Investor relations   􎀿            American Airlines credit card

Agency reference                        Newsroom      􎀿                   Trip insurance

Cargo   􎀿                               Legal, privacy, copyright         CoBrowse

Bag and optional fees                   Combating human trafficking

Customer service and                    Browser compatibility
contingency plans
                                        Web accessibility
Conditions of carriage




􎀿 Link opens in new window. Site may not meet accessibility guidelines.




https://www.aa.com/loyalty/enrollment/enroll                                                                              3/3
Case 1:19-cv-24300-MGC Document 33-1 Entered on FLSD Docket 12/27/2019 Page 9 of 28




                                   EXHIBIT C
12/22/2019
     Case                      AAdvantage terms
             1:19-cv-24300-MGC Document         and conditions
                                             33-1    Entered   − AAdvantage
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                                           Home     Log in »      Hello             English   Search aa.com             􎀹
                                                     Plan Travel                 Travel Information AAdvantage

􎀳     Home        >    AAdvantage program             >        AAdvantage terms and conditions



AAdvantage terms and conditions
Updated September 16, 2019


AAdvantage® program reservation of rights
These reservations of rights apply to all aspects of the AAdvantage® program, including without limitation, all elite
status programs such as AAdvantage® Gold, Platinum, Platinum Pro, Executive Platinum, ConciergeKey and the
AAdvantage® Million Miler℠ program.

American Airlines may, in its discretion, change the AAdvantage® program rules, regulations, travel awards and special
offers at any time with or without notice. This means that the accumulation of mileage credit does not entitle members
to any vested rights with respect to such mileage credits, awards or program benefits.

In accumulating mileage or awards, members may not rely upon the continued availability of any award or award level,
and members may not be able to obtain all offered awards for all destinations or on all flights. Any award may be
withdrawn or subject to increased mileage requirements or new restrictions at any time.

American Airlines may, among other things, (i) withdraw, limit, modify, or cancel any award; (ii) change program
benefits, mileage levels, participant affiliations, conditions of participation, rules for earning, redeeming, retaining or
forfeiting mileage credit, or rules for the use of travel awards; (iii) rename or redefine program elements or benefits; (iv)
add travel embargo dates, limit the number of seats available for award travel (including, but not limited to, allocating no
seats on certain flights) or otherwise restrict the continued availability of travel awards or special offers; or (v) end any
of its elite status programs.

American Airlines may make any one or more of these changes at any time even though such changes may affect your
ability to use the mileage credit or awards that you have already accumulated. Program services and benefits available
through the oneworld® alliance or other participating partners in connection with the AAdvantage® program are subject
to change without notice. American Airlines reserves the right to end the AAdvantage® program with six months' notice.
AAdvantage® travel awards, accrued mileage credits and special offers are subject to government regulations.




􎁎 General AAdvantage® program terms and conditions
      ■ You are responsible for reading the AAdvantage® Program Terms and Conditions, additional member
        information, AAdvantage® newsletters and account summaries online at aa.com in order to understand your
        rights, responsibilities, and status under the AAdvantage® program. American Airlines may amend its rules of
        the Program at any time without notice. American Airlines has no liability for correspondence that is misdirected,
        lost, stolen, damaged or delayed.

https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                            1/11
12/22/2019
     Case                       AAdvantage terms
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                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 11 of 28
      ■ Any departure fee, immigration fee, security fee, tax liability surcharge, passenger facility charge or any other fee
        or surcharge (whether enacted by a governmental authority or otherwise) is the responsibility of the passenger
        and/or the AAdvantage® member.
      ■ AAdvantage® members must have mileage earning or redeeming activity once every 18 months in order to
        retain their miles. If your account has no qualifying activity in any 18-month period, all miles in the account will
        expire. Qualifying activity extends the expiration date of all unexpired mileage credit in your account for 18
        months from the date of the qualifying activity. Qualifying activity is defined as redeeming any AAdvantage®
        award or accruing mileage credit on any eligible American, American Eagle® or AAdvantage® airline participant
        as well as accruing mileage credit with participating hotels, car rental companies, credit cards,
        telecommunication providers and other service providers offering AAdvantage® mileage credit.
      ■ AAdvantage® members may reactivate AAdvantage® miles by paying a reactivation fee determined by the
        number of miles to be reactivated. Eligible AAdvantage® members can find the fee amounts at
        aa.com/reactivatefee. AAdvantage® mileage will only be eligible for reactivation if done so within 18 months of
        the date of expiration. AAdvantage® members will only be allowed 1 mileage reactivation transaction within 18
        months of mileage expiration. A maximum of 500,000 miles may be reactivated during any mileage activation
        transaction. Any miles not reactivated at that time will be forfeited. AAdvantage® members can reactivate their
        miles either on aa.com or with AAdvantage® Customer Service.

      Reactivate fee »

      ■ At no time may AAdvantage® mileage credit or award tickets be purchased, sold, advertised for sale or bartered
        (including but not limited to transferring, gifting, or promising mileage credit or award tickets in exchange for
        support of a certain business, product or charity and/or participation in an auction, sweepstakes, raffle or
        contest). Any such mileage or tickets are void if transferred for cash or other consideration. Violators (including
        any passenger who uses a purchased or bartered award ticket) may be liable for damages and litigation costs,
        including American Airlines attorneys’ fees incurred in enforcing this rule.
      ■ Use of award tickets that have been acquired by purchase or for any other consideration may result in the tickets
        being canceled, confiscated and/or the passenger being denied boarding. If a trip has been started, any
        continued travel will be at the passenger's expense on a full-fare basis. The passenger and member who
        attempts to use such a ticket may also be liable to American Airlines for the cost of a full fare ticket for any
        segments flown on a sold or bartered ticket.
      ■ American Airlines is not responsible for the cancellation of award reservations or changes to any award travel
        plans made by members.
      ■ Award tickets have no cash value and are non-refundable.

      ■ Fraud, misrepresentation, abuse or violation of applicable rules (including, but not limited to, American or
        American Eagle® conditions of carriage, tariffs and AAdvantage® program rules) is subject to administrative
        and/or legal action by appropriate governmental authorities and American Airlines. Such action may include,
        without limitation, the forfeiture of all award tickets and any accrued mileage in a member's account, as well as
        termination of the account and the member's future participation in the AAdvantage® program. If your account is
        terminated due to inappropriate conduct or while under investigation, you may not open a new AAdvantage®
        account or participate in the AAdvantage® Program in any capacity without obtaining the express written
        permission of American Airlines. In addition, American Airlines reserves the right to take appropriate legal action
        to recover damages, including its attorneys’ fees incurred in prosecuting any lawsuit.
      ■ American Airlines reserves the right to audit any and all accounts at any time and without notice to the member
        to ensure compliance with AAdvantage® program rules and applicable conditions of carriage and/or tariffs. In the
        event that an audit reveals discrepancies or violations, the processing of AAdvantage® awards, mileage accrual
        and summaries may be delayed until the discrepancies or violations are resolved in a manner satisfactory to
https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                             2/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
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                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 12 of 28
        American Airlines. Pending such resolution, members may be prohibited from redeeming mileage credits for an
        AAdvantage® award or ticket as determined in American's sole discretion.
      ■ If American Airlines and/or any AAdvantage® participant improperly denies a member mileage credit, travel
        award or some other benefit, the member's exclusive remedy shall be the issuance of the improperly denied
        credit, award or benefit if available, or such other alternative comparable benefit as determined by American, in
        its sole discretion. American shall have no additional liability whatsoever. In no event shall American Airlines or
        any AAdvantage® participant be liable to any member, or anyone claiming through a member, for any direct,
        indirect or consequential damages, or lost revenue or profits, arising out of the acts or omissions of American
        Airlines or any AAdvantage® participant in connection with the AAdvantage® program.
      ■ American Airlines reserves the right to terminate your AAdvantage® account for inactivity. Your account may be
        deemed inactive and terminated without notice if: you have not had any mileage earning or redeeming activity
        for at least 36 consecutive months; your AAdvantage® account has a current balance of zero miles; you do not
        have an AAdvantage® co-branded credit card open and in good standing associated with your account; and you
        do not have any lifetime benefits (such as Million Miler or Lifetime AirPass) or an active elite status. In addition,
        the AAdvantage® account terminates upon death of the member.
      ■ You may voluntarily terminate your AAdvantage® account by providing written notice to AAdvantage® Customer
        Service. AAdvantage® Account termination is permanent.
      ■ All requests must include the following information to confirm your identity: Your full name, your AAdvantage
        number, email address on your AAdvantage® account, your country of residence, and your date of birth
      ■ Any voluntary termination will be subject to these AAdvantage® program Terms and Conditions.

      Contact AAdvantage® Customer Service »

      ■ Termination of your AAdvantage® account for any reason will result in the immediate forfeiture of all accrued
        mileage credits and other benefits, including but not limited to First or Business Class upgrades, baggage fee
        waivers, priority boarding privileges, and access to preferred seats. If you voluntarily terminate your account,
        American Airlines will honor award tickets already issued at the time of account termination, but such award
        tickets or upgrades cannot be modified or transferred.
      ■ If your AAdvantage® account was voluntarily terminated while in good standing, you may open a new
        AAdvantage® account at any time; however, any miles or benefits which may have been available under your
        previous AAdvantage® account prior to termination will not be reactivated or transferred to your new
        AAdvantage® account.
      ■ American Airlines is not responsible for and will have no liability arising from products and services offered by
        other participating companies.
      ■ Accumulation of AAdvantage® mileage and use of AAdvantage® travel awards with companies other than
        American Airlines are subject to the continued participation of such companies in the AAdvantage® program.
      ■ The AAdvantage® program Terms and Conditions are governed by and to be interpreted in accordance with the
        laws of the State of Texas. To the full extent allowed by law, these Terms and Conditions disclaim any duty of
        good faith and fair dealing as well as any implied contractual terms or obligations.
      ■ AAdvantage® is an individual-oriented program. Your mileage summaries, special promotional materials and
        tickets will be sent to the address or email address, as applicable, that you provide.
      ■ Members may view their account status and mileage summary on www.aa.com or by subscribing to receive the
        AAdvantage® eSummary. AAdvantage®eSummary subscribers receive their summary and information every
        month, regardless of activity level. Your summary includes flight and participant mileage earned, along with
        AAdvantage® program information and special promotions.

https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                              3/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
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                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 13 of 28
      ■ Only individuals are eligible for AAdvantage® program membership. Non-individuals including corporations,
        other entities, animals or blocked-seat baggage are not eligible to become AAdvantage® members or to accrue
        AAdvantage® miles. Generally, only the member named on the account will be entitled to access account
        information.

      Privacy policy »

      All rules are subject to interpretation by designee(s) of American Airlines.




􎁎 Earning AAdvantage® miles
      To ensure you receive credit for your AAdvantage® transactions, please provide your AAdvantage® number when
      you make your travel reservations or use the services of our participants. Retain all flight documents until the
      mileage credit appears on your mileage summary. For transactions with other participants, retain your original paid
      invoice. You must include your AAdvantage® number in your reservation record for any flight on which you wish to
      use AAdvantage® elite status benefits.

      ■ Mileage will be credited only to the account of the AAdvantage® member who flies, rents a car, stays at a hotel,
        or earns mileage utilizing other participating companies. No mileage credit will be awarded for canceled flights
        and/or through being accommodated on another airline.
      ■ Except as otherwise explained below, mileage credit is not transferable and may not be combined among
        AAdvantage® members, their estates, successors or assigns. Accrued mileage credit and award tickets do not
        constitute property of the member. Neither accrued mileage, nor award tickets, nor status, nor upgrades are
        transferable by the member (i) upon death, (ii) as part of a domestic relations matter, or (iii) otherwise by
        operation of law. However, American Airlines, in its sole discretion, may credit accrued mileage to persons
        specifically identified in court approved divorce decrees and wills upon receipt of documentation satisfactory to
        American Airlines and upon payment of any applicable fees. Mileage credit is transferable between
        AAdvantage® accounts when offered by American Airlines online, with the ShareMiles program. The member
        must adhere to the rules and limitations of the ShareMiles program.
      ■ Travel on any eligible purchased, published fare ticket on an American marketed flight (flights sold under an
        American flight number) will earn mileage credit based on the ticket price (base fare plus any mandatory carrier-
        imposed fees). Mileage credit will not be earned on government imposed taxes and fees or on optional airline
        fees such as, but not limited to, change fees, ticketing fees or charges for products such as seats or checked
        baggage. Some types of fares, such as those sold in conjunction with a vacation package or tickets where the
        actual fare is not disclosed like consolidator, bulk fare or student tickets, will earn mileage credit based on a
        percentage of distance flown as determined by the booking code purchased. In the event the necessary
        ticket/fare details are not available at the time of posting of your mileage credit, you will earn mileage credit
        based on a percentage of the distance flown as determined by the booking code.
      ■ Partner marketed flights (flights sold under a partner flight number) will earn mileage credit based on a
        percentage of distance flown as determined by the booking code purchased.
      ■ For any flights that earn mileage credit based on a percentage of distance flown, the distance is determined on
        the basis of nonstop distances between the airports where your flight originates and terminates. On connecting
        flights with different flight numbers, the distance of each segment will be used. On single-plane, through, or
        change of gauge flights, the nonstop origin-destination distance will be used and credit for a single elite
        qualifying segment will be given.

https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                             4/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
                                                    conditions − on
                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 14 of 28
      ■ On American Airlines and other AAdvantage® airline participants, you'll receive AAdvantage® mileage credit only
        for the class of service on which your fare is based when you are ticketed. American Airlines is the final authority
        on the methodology used to calculate mileage and the amount of flight credit for a particular flight or routing.
        American Airlines is the final authority on qualification for mileage credit and reserves the right to deny or revoke
        mileage credit at any time if American Airlines determines that mileage credit was improperly given.
      ■ Unless otherwise stated, mileage credit cannot be earned for the same flight, hotel stay, or car rental in more
        than one of the following programs: the AAdvantage® program or any other loyalty program in which American
        Airlines participates.
      ■ AAdvantage® flight mileage credit is determined on the basis of nonstop distances between the airports where
        your flight originates and terminates. On connecting flights with different flight numbers, you'll receive mileage
        credit for each segment of your trip; on single-plane, through, or change of gauge flights, you'll receive the
        nonstop origin-destination mileage credit and credit for a single elite qualifying segment. On American Airlines
        and other AAdvantage® airline participants, you'll receive AAdvantage® mileage credit only for the class of
        service on which your fare is based when you are ticketed. American Airlines is the final authority on the
        methodology used to calculate mileage and the amount of flight credit for a particular flight or routing. American
        Airlines is the final authority on qualification for mileage credit and reserves the right to deny or revoke mileage
        credit at any time if American Airlines determines that mileage credit was improperly given.
      ■ After your flight departs, you will not be able to change your selection of a frequent traveler program for earning
        mileage credit with respect to that flight.
      ■ You will not be able to transfer mileage you accumulate in the AAdvantage® program to any other carrier's
        program, nor can you transfer mileage you accumulate in another carrier's program to the AAdvantage®
        program.
      ■ You may accrue mileage only for purchased, eligible, published-fare tickets on qualifying routes used in
        accordance with all applicable conditions of carriage, tariffs, rules and terms of ticketing (including but not limited
        to compliance with rules prohibiting hidden city, back to back and throwaway ticketing) and travel. AAdvantage®
        mileage accrual eligibility on airline participant routes is subject to change without notice. Flights to/from Cuba
        are only eligible for mileage accrual on American Airlines flights.
      ■ You cannot accrue partner airline miles with your partner frequent flyer number if you have already used your
        AAdvantage® number to obtain AAdvantage® program benefits such as First or Business Class upgrades,
        baggage fee waivers or complimentary access to Preferred/Main Cabin Extra seats. Additionally, you cannot
        redeem partner airline miles with your partner frequent flyer number and obtain AAdvantage® program benefits
        such as priority boarding and access to preferred seats.
      ■ Mileage can only be accumulated one time per flight, regardless of the number of seats purchased.

      ■ You may request mileage credit for past, eligible transactions up to 12 months from the transaction date.
        Transactions occurring more than 30 days prior to your enrollment date are not eligible for mileage credit.
      ■ You are responsible for ensuring that your mileage earned is properly credited. If you believe that mileage has
        been earned but not properly credited, you may be required to submit documentation or other proof satisfactory
        to American Airlines, which may include copies of ticket coupons, boarding passes and receipts. Any claim for
        uncredited mileage must be received by American Airlines within 12 months after the mileage credit was earned.
      ■ Certain airline tickets are not eligible for earning mileage credit. These include, without limitation, the following:
        all tickets issued as AAdvantage® awards or other free ticket promotions including free or reduced rate tickets;
        companion tickets; charter flight tickets; travel agency/industry reduced rate tickets; infant tickets; items
        occupying a purchased seat; unpublished fare tickets, including consolidator fares, tickets issued as a result of a
        fare published inadvertently or by mistake and tickets issued subject to special provisions.


https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                               5/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
                                                    conditions − on
                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 15 of 28



􎁎 Redeeming AAdvantage® miles
      ■ Flight awards entitle you to one-way travel unless otherwise noted. Certain special awards require round-trip
        travel and immigration laws in some locations require proof of onward or return travel. One-Way awards can be
        combined to create a round trip or multi-city trip.
      ■ For each one-way flight award redeemed for travel within the United States and Canada, a maximum of three
        segments are permitted. For all other destinations (including Puerto Rico and U.S. Virgin Islands), a maximum of
        four segments are permitted.
      ■ AAdvantage® flight awards may not be used in conjunction with any other promotion, coupon, discount or
        special offer; and are void where prohibited by law. Members may not combine AAdvantage® flight awards with
        upgrade awards. Flights to/from Cuba are only eligible for mileage redemption on American Airlines flights.
      ■ Upgrade awards are limited to a one-way award with a maximum of three segments. No stopovers are allowed
        when using a one-way upgrade award. All upgrade awards are subject to capacity controls.
      ■ Your flight awards are only valid for designated award destinations served at the time you use the ticket. In the
        event that American or an AAdvantage® participating carrier ceases to serve a destination for which an award
        has been redeemed, American will redeposit the AAdvantage® miles redeemed for that award into your account.
      ■ Once ticketed, you'll have one year from the date of ticketing to complete all travel unless otherwise noted.

      ■ American Airlines assumes no responsibility for and is not liable for any unauthorized access by third parties to a
        member's account and/or account information, including but not limited to any unauthorized award transaction
        made from the account, except as provided under applicable laws. American assumes no obligation or duty to
        re-credit any unauthorized mileage withdrawal made by third parties; however, American reserves the right to
        review, in its sole discretion, requests for re-crediting unauthorized mileage withdrawals provided such request is
        made to American within three months of the unauthorized withdrawal. By accessing your AAdvantage® account
        on aa.com, you agree to the aa.com site usage policy.

      Legal information »

      ■ Subject to the rules prohibiting purchase, sale and barter of AAdvantage® mileage and travel awards as well as
        the rules pertaining to any special AAdvantage® offers, AAdvantage® award tickets may be issued in any name
        designated by the AAdvantage® member; however, the recipient of the mileage credit or award ticket must be
        identified at the time the award reservation is ticketed and cannot be identified at a later point in time, such as a
        charity to be named later, or conditioned upon the outcome of a future event, such as the winner of a contest.
      ■ Once award tickets are issued they cannot be transferred.

      ■ AAdvantage® flight awards are subject to, and the passenger is responsible for, any applicable departure taxes,
        security fees, federal inspection fees, passenger facility charges and/or other taxes, fees and surcharges
        assessed by appropriate authorities or partner carriers. In addition, there may be applicable non-refundable
        charges under the AAdvantage® program, such as AAdvantage® award charges or upgrade award co-pays.
      ■ Awards for international travel are subject to appropriate governmental approvals.

      ■ Tickets issued as AAdvantage® flight awards are not applicable for travel on American Airlines cooperative
        codeshare service with other carriers. In addition, selected flights designated as AAdvantage® airline participant
        flights, but operated by another carrier, may not be valid for award travel.
      ■ Upgrade tickets may be issued through American Airlines reservations or ticketing locations or by your travel
        agent. For all other airline travel awards, including those for travel on airline participants, your reservations must

https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                              6/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
                                                    conditions − on
                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 16 of 28
        be made with, and your tickets issued by, an American Airlines reservations or ticketing location. All flight awards
        must be ticketed on American Airlines ticket stock.
      ■ Flight awards on American Airlines and American Eagle® and our airline participants may be subject to special
        limitations on seating availability. Seats for award travel may not be available on all flights. Reservations for flight
        awards will be accepted, and you will have a confirmed seat, as long as award seats are still available for the
        award you are using when you make your reservation. However, all accommodations are subject to availability at
        the time reservations are made.
      ■ Each AAdvantage® participant is responsible for its awards only and not for the awards of other participating
        companies. If an AAdvantage® participant agreement changes or terminates, you may find that AAdvantage®
        awards for that participant are no longer available. American Airlines is not responsible for any participant
        withdrawals, award cancellations, discontinued services, changes in any mileage levels, rules or restrictions
        applying to participant's awards or mileage accrual policies. AAdvantage® award restrictions may be announced
        by American Airlines or AAdvantage® participants at any time without notice.
      ■ Travel on AAdvantage® tickets will be subject to the tariffs, contract of carriage, ticket terms, and re-
        accommodation policies of the carrier on which travel is scheduled and may also be subject to the Warsaw
        Convention or the Montreal Convention. American Airlines and American Eagle®'s conditions of carriage are
        available on aa.com, from any American airport or Travel Center representative.
      ■ Income tax liability on AAdvantage® travel awards, if any, is the responsibility of the member.




􎁎 AAdvantage® award reinstatement / reissuance charges
      ■ Prior to ticketing, you may change your AAdvantage® travel award reservations with no charge incurred.
        However, if your tickets are reissued after the original ticketing, a charge may apply for each ticket. This service
        charge is paid at the time your ticket is reissued and is subject to change without notice. Upgrade, companion
        and discount award travel is subject to restrictions of fare purchased.
      ■ AAdvantage® mileage will be reinstated for unused and unexpired awards upon payment of a processing fee.
        For tickets booked on or after November 1, 2018, AAdvantage® mileage will be reinstated upon payment of a
        processing fee for unused and unexpired awards canceled prior to departure. For each additional award
        reinstatement from the same account at the same time, an additional charge will be collected. These charges
        are payable by credit card.
      ■ Expired tickets will not be reinstated. If a portion of the miles used to claim an award ticket has expired, only
        those miles that have not expired will be reinstated. Partially used tickets will not be reinstated.




􎁎 500-mile upgrade Terms and Conditions
      ■ AAdvantage® Executive Platinum and Platinum Pro members traveling on any eligible purchased, published
        fare, regardless of the flight length and for Platinum and Gold members traveling on any purchased, published
        fare on flights 500 miles or less in length are eligible for complimentary upgrades. Executive Platinum members
        are also eligible to use their complimentary upgrade benefit on AAdvantage® award tickets.

https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                              7/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
                                                    conditions − on
                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 17 of 28
      ■ Platinum or Gold members traveling on a flight greater than 500 miles in length may upgrade using 500-mile
        upgrades as payment.
      ■ AAdvantage® elite status members may upgrade one companion traveling on the same flight using 500-mile
        upgrades from their own account as payment.
      ■ Upgrades aren't allowed on Basic Economy fare tickets

      ■ Non elite status members may only upgrade when they are traveling as the companion to an elite status
        member.
      ■ Upgrades are valid on American Airlines or American Eagle® marketed and operated flights offering a First or
        Business Class cabin within and between the 50 United States, Canada, Mexico, the Caribbean, the Bahamas,
        Bermuda as well as between the United States and Central America (Belize, Costa Rica, El Salvador,
        Guatemala, Honduras, Nicaragua or Panama).
      ■ Each upgrade is valid for 500 miles of travel. Each flight segment requires at least one upgrade.

      ■ Upgrades are valid from the Main Cabin to the next class of service.

      ■ Upgrade inventory is subject to seating limitations and capacity controls.

      ■ Upgrade reservations may be confirmed - if upgrade seating is available - no earlier than 120 hours prior to the
        scheduled departure time of the flight for ConciergeKey℠ members, 100 hours for Executive Platinum members,
        72 hours for Platinum Pro members, 48 hours for Platinum members and 24 hours for Gold members. If a
        confirmed upgrade is not available, you will automatically be added to the Airport Upgrade Standby List at
        check-in. In order to be added to the Airport Upgrade Standby List, you will need to have the required number of
        upgrades in your account at the time of check-in.
      ■ For any flight on which you are a confirmed passenger, standby priority at the airport will be ConciergeKey℠
        members first, AAdvantage® Executive Platinum members next, then AAdvantage® Platinum Pro members,
        followed by AAdvantage® Platinum and Gold members. In addition, your priority within each elite status level will
        also be determined based on the type of upgrade, your 12-month rolling EQDs, booking class and the date and
        time you requested your upgrade initially.
      ■ The appropriate number of upgrades will be deducted from your electronic upgrade account at the time of travel.

      ■ AAdvantage® mileage will accrue for the class of service on which your fare is based when you are ticketed, not
        the class of service flown.
      ■ Upgrades will not be refunded, exchanged or transferred.

      ■ Upgrades are void if sold or advertised for sale for cash or other consideration.

      ■ Purchased upgrade prices are subject to change without notice.

      ■ Upgrades purchased through American Airlines Reservations or aa.com requires a minimum of two hours
        processing time to be deposited into your upgrade account.
      ■ In the event of a cancellation or off-schedule operation, American Airlines will attempt to honor your upgrade on
        another of its flights. If you are accommodated on another carrier, it will be in the class of service purchased on
        your American Airlines ticket.
      ■ American Airlines reserves the right to eliminate or restrict the use of upgrades on certain flights and make other
        such changes at any time without notice. Use of upgrades to any future American Airlines destination is subject
        to approval.




https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                            8/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
                                                    conditions − on
                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 18 of 28

􎁎 AAdvantage® promotions terms and conditions
      By engaging in this offer to receive bonus American Airlines AAdvantage® miles (“Offer”), you agree to be legally
      bound by these terms and conditions. In addition, the standard terms and conditions for the AAdvantage®
      program, which can be found above, shall apply to the Offer.

      Offer details:

      This Offer is not a game of chance, lottery or contest. It is open to certain American Airlines AAdvantage®
      members, as specified on the designated page for the Offer in the member’s AAdvantage® account (“Members”)
      except where prohibited by law. American Airlines is not responsible for the quality or delivery of any goods and/or
      services provided by participating companies as part of this Offer. All participating company terms and conditions
      apply. This Offer, participating companies and Qualifying Activities (as defined below) are subject to change
      without notice. American Airlines may, and at any time and without notice, change, stop or end this promotion in
      part or full.

      Earning bonus miles:

      American Airlines will specify the activity that a registered Member needs to take in order to be eligible to receive
      bonus miles in connection with the Offer on the designated page for the Offer in the Member’s AAdvantage®
      account (“Qualifying Activity”). Activity that occurs before a Member is registered for the Offer will not count toward
      the Offer. Multiple Qualifying Activities may be required to satisfy the conditions of this Offer. A Member must
      perform the Qualifying Activity during the period designated by American Airlines (“Offer Period”). The availability
      of Qualifying Activities may be limited by certain factors, including, but not limited to, transaction history,
      geographic location, local laws, terms set by participating companies, and other criteria specific to the Offer.

      In order to earn bonus miles, a Member must have a valid AAdvantage® number, have an active AAdvantage®
      account, be in good standing in the AAdvantage® program at the time of the Member’s first Qualifying Activity
      through the remainder of the Offer Period, register for this Offer, and complete the Qualifying Actions within the
      Offer Period. Members may only participate in this Offer with one (1) AAdvantage® account. If a Member is found
      to be participating with multiple AAdvantage® accounts, all bonus miles earned from this Offer will be forfeited and
      removed from the Member’s account.

      Transacting with a participating company without earning AAdvantage® miles will not count as a Qualifying Activity.
      If a participating company reverses an award of miles pursuant to the terms and conditions applicable for
      transacting with that participating company, American Airlines reserves the right to adjust the bonus miles awarded
      to the Member under the Offer.

      In certain circumstances, due to certain factors, including, but not limited to, transaction history, geographic
      location, local laws, terms set by participating companies, or other criteria specific to the Offer, a Member may be
      ineligible to receive bonus miles in connection with this Offer even if the Member is notified of the Offer through the
      Member’s AAdvantage® account or the Member registers for the Offer. Age restrictions may apply to certain
      Qualifying Activities.

      Individuals who are not AAdvantage® members may join at no cost online at aa.com/enroll or by calling the
      AAdvantage® membership desk at 1-800-882-8880.

      Enroll in AAdvantage® »

      American Airlines assumes no responsibility for how participating companies record mileage-earning transactions.
      Members must check with the participating company to confirm how the partner records mileage-earning
      transactions. Please note that some participating company’s products and/or services are not available in all
      states. Additional terms may apply.

https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                            9/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
                                                    conditions − on
                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 19 of 28
      This offer cannot be combined with any other offer. No substitutions or rain checks are permitted. Theft, diversion,
      reproduction, transfer, sale or purchase of this offer is prohibited and constitutes fraud. This offer is void if altered,
      duplicated, copied, reproduced, transferred, sold, exchanged or expired.

      AAdvantage® program:

      Unless specified, AAdvantage® miles earned through the Offer do not count toward elite-status qualification or
      AAdvantage® Million Miler℠ status. American Airlines is not responsible for products or services offered by other
      participating companies. For complete details about the AAdvantage® program, visit aa.com/aadvantage.

      AAdvantage® program »

      Use of data:

      American Airlines will be collecting personal data about participants online, in accordance with its privacy policy.
      Please review the privacy policy at aa.com/privacy.

      Privacy policy »

      Taxes:

      Any valuation of the AAdvantage® miles stated above is based on available information provided to American
      Airlines. The value of the AAdvantage® miles will be taxable as income. All federal, state and local taxes and any
      other costs and expenses associated with the acceptance and/or use of AAdvantage® miles not specifically
      provided for in these Terms and Conditions are solely your responsibility. You are responsible for reporting and
      paying any and all applicable taxes. You must contact your own tax advisor for any questions concerning taxes.

      Other conditions:

      By participating, you agree to these Terms & Conditions, which are final and binding in all respects. Subject to all
      federal, state and local laws and regulations. American Airlines reserves the right, at its sole discretion, to modify
      or suspend this Offer or any portion hereof, or to disqualify any individual implicated in any of the following actions,
      if for any reason: (a) infection by computer virus, bugs, tampering, unauthorized intervention, actions by
      participants, fraud, technical failures, or any other causes which, in American Airlines’ sole opinion, corrupt or
      affect the administration, security, fairness, integrity or proper conduct of the Offer, (b) the Offer or any website
      associated therewith (or any portion thereof) becomes corrupted or does not allow the proper processing of
      Participant information per these terms, or (c) the Offer is otherwise not capable of running as planned by
      American Airlines. By participating, you agree to release and hold harmless American Airlines, its parent(s),
      subsidiaries, affiliates, divisions, advertising and promotional agencies, wholesalers and retailers, employees,
      officers, directors, shareholders and agents (collectively the “Released Parties”), from and against any and all
      claims, actions and/or liability for any injuries or death, loss or damage of any kind arising from or in connection
      with participation in the Offer or acceptance or use of any AAdvantage® miles and for any claims based on
      publicity rights, defamation, invasion of privacy and merchandise delivery. The Released Parties are not
      responsible or liable for any incorrect or inaccurate Participant information, and assume no responsibility for (i) any
      error, omission, interruption, defect or delay in operation or transmission at any website, (ii) failure of any
      Participant information to be reported to American Airlines due to technical problems, human error or traffic
      congestion on the Internet or at any website, (iii) communications line, hardware and/or software failures, (iv)
      damage to any computer (software or hardware) resulting from participation in the Offer, (v) theft or destruction of,
      tampering with, unauthorized access to, or alteration of Participant information, or (vi) Participant information or
      mail which are late, lost, stolen, damaged, illegible, unintelligible, misdirected, mutilated, incomplete and/or lacking
      postage (or any combination thereof). The use of third-party software or website or automated systems to
      participate is prohibited, and American Airlines reserves the right to disqualify Participants who engage in the Offer
      in such fashion. By participating, you agree to comply with these rules. Any participant who attempts to tamper with
      this Offer in any way shall be disqualified. Additional restrictions may apply.
https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                               10/11
12/22/2019
     Case                       AAdvantage terms
             1:19-cv-24300-MGC Document     33-1and Entered
                                                    conditions − on
                                                                 AAdvantage
                                                                    FLSDprogram − American
                                                                            Docket         Airlines
                                                                                   12/27/2019       Page 20 of 28
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􎁄 Back to top

Help                                 About American                        Extras

Contact American                     About us                              Business programs

Receipts and refunds                 Careers   􎀿                           Gift cards   􎀿
FAQs                                 Investor relations   􎀿                American Airlines credit card

Agency reference                     Newsroom      􎀿                       Trip insurance

Cargo   􎀿                            Legal, privacy, copyright             CoBrowse

Bag and optional fees                Combating human trafficking

Customer service and                 Browser compatibility
contingency plans
                                     Web accessibility
Conditions of carriage




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https://www.aa.com/i18n/aadvantage-program/aadvantage-terms-and-conditions.jsp                                  11/11
Case 1:19-cv-24300-MGC Document 33-1 Entered on FLSD Docket 12/27/2019 Page 21 of 28




                                   EXHIBIT D
12/22/2019
     Case                                Legal information
             1:19-cv-24300-MGC Document 33-1      Entered  − Support
                                                              on FLSD− American Airlines12/27/2019 Page 22 of 28
                                                                           Docket
                                        Home     Log in »     Hello            English      Search aa.com             􎀹
                                                        Plan Travel      Travel Information AAdvantage

􎀳      Home        >     Legal information



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Conditions of carriage »



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https://www.aa.com/i18n/customer-service/support/legal-information.jsp                                                    1/7
12/22/2019
     Case                                Legal information
             1:19-cv-24300-MGC Document 33-1      Entered  − Support
                                                              on FLSD− American Airlines12/27/2019 Page 23 of 28
                                                                           Docket
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You agree to indemnify, defend, and hold harmless American Airlines and its affiliates from and against any and all
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You agree that without limitation you shall not make any fictitious, fraudulent, or abusive reservation or any reservation
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Impossible/Illogical reservations.) If American Airlines determines that you have confirmed multiple reservations to one
or more destination on or about the same date, American Airlines may without notice cancel all confirmed space
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Conditions of carriage »

https://www.aa.com/i18n/customer-service/support/legal-information.jsp                                                       2/7
12/22/2019
     Case                                Legal information
             1:19-cv-24300-MGC Document 33-1      Entered  − Support
                                                              on FLSD− American Airlines12/27/2019 Page 24 of 28
                                                                           Docket
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mileage tracking service, or mileage aggregation service.

You must access your account information directly through the Site and not through a third party Website, including but
not limited to any mileage management service, mileage tracking service, or mileage aggregation service. You also
violate this Agreement if you enable an AAdvantage member to access account information without visiting the Site.

You agree that you will not misuse the Site. "Misuse" includes, but is not limited to, using the Site to do any of the
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https://www.aa.com/i18n/customer-service/support/legal-information.jsp                                                        3/7
12/22/2019
     Case                                Legal information
             1:19-cv-24300-MGC Document 33-1      Entered  − Support
                                                              on FLSD− American Airlines12/27/2019 Page 25 of 28
                                                                           Docket
■ Act as an agent or attorney in fact for any person who is not a member of your immediate household; or your direct
   supervisor at your place of employment.
■ Take any action that will or could impose an unreasonable or disproportionately large load on our site infrastructure.

■ Act as a mileage management service, mileage tracking service or mileage aggregation service for any AAdvantage
   member.
■ Access information about any AAdvantage member protected by site log-in and post it on any other Website, with or
   without that AAdvantage member's consent.
■ Utilize an AAdvantage member's password or personal identification number during log-in, unless you are: the
   AAdvantage member to whom that password or personal identification number is assigned (the "Authorized
   AAdvantage member"); a family member of the Authorized AAdvantage Member, acting with the Authorized
   AAdvantage Member's permission; or an employee of the Authorized AAdvantage Member's employer, acting with
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             1:19-cv-24300-MGC Document 33-1      Entered  − Support
                                                              on FLSD− American Airlines12/27/2019 Page 26 of 28
                                                                           Docket
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12/22/2019
     Case                                Legal information
             1:19-cv-24300-MGC Document 33-1      Entered  − Support
                                                              on FLSD− American Airlines12/27/2019 Page 27 of 28
                                                                           Docket
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12/22/2019
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             1:19-cv-24300-MGC Document 33-1      Entered  − Support
                                                              on FLSD− American Airlines12/27/2019 Page 28 of 28
                                                                           Docket
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